Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.988 Page 1 of 8




                       Exhibit H
Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.989 Page 2 of 8
Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.990 Page 3 of 8
Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.991 Page 4 of 8
Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.992 Page 5 of 8
Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.993 Page 6 of 8
Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.994 Page 7 of 8
Case 1:24-cv-00046-TC-DAO Document 18-8 Filed 08/05/24 PageID.995 Page 8 of 8
